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 VIAECF


                                       December 20, 2023


 Hon. Kenneth M. Karas, U.S.D.J.
 United States District Court
 Southern District ofNew York
 3 00 Quarropas Street
 White Plains, New York 10601

        Re:    Alameda, et al. v. Association ofSocial Work Boards
               No. 7:23-cv-06156 (KMK)

Dear Judge Karas,

        1bis office represents the plaintiffs in the above-referenced matter. Plaintiffs' opposition
to defendant's motion to dismiss is presently due December 22, 2023, with defendant's reply due
Januar; 9, 2024. On consent of opposing counsel, I wiite to respectfully request a two-week
extension of these deadlines, making plaintiff's opposition due January 5, 2024 and defendant's
reply due January 23, 2024. 1bis is our first request for an extension of these deadlines. We thank
the Court for its consideration of this request and wish all a happy holiday season and all the best
for the new year.




cc: All counsel of record (by ECF)           Granted.

                                               o Ordered.

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                                             12/21/23
